I believe, in a great many instances, securities have           (337) been released, and others substituted in their places, in order that they might thereby become competent to give evidence in the cause. I can see no inconvenience in the case at all comparable to that which might be experienced from a contrary rule or practice. Much injury might accrue to a person who had, unguardedly or unfortunately, procured one to become his security whom he might afterwards discover to be an important witness for him.
I clearly think a new trial should be granted.
And of this opinion was the rest of the Court.
PER CURIAM.                                             New trial.
Cited: Brittain v. Howell, 19 N.C. 108; Garmon v. Barringer, ib., 503;Sawyer v. Dozier, 27 N.C. 100; Otey v. Hoyt, N.C. 411.